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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


ELISABETH KERNS,

                       Plaintiff,

v.                                                            Case No: 6:18-cv-956-Orl-41DCI

ADVANCED CALL CENTER
TECHNOLOGIES, LLC,

                       Defendant.
                                            /

                                            ORDER

       THIS CAUSE is before the Court on the Notice of Pending Settlement (Doc. 27), wherein

the parties have advised the Court that the above-styled action has been completely settled.

       Accordingly, pursuant to Local Rule 3.08(b) of the Middle District of Florida, it is

ORDERED and ADJUDGED that this cause is hereby DISMISSED with prejudice subject to

the right of any party, within sixty days from the date of this Order, to move the Court to enter a

stipulated form of final order or judgment, or, on good cause shown, to reopen the case for further

proceedings. All pending motions are DENIED as moot. The Clerk is directed to close this file.

       DONE and ORDERED in Orlando, Florida on November 13, 2018.




Copies furnished to:

Counsel of Record




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